Case 5:18-cv-00355-JSM-PRL Document 1-9 Filed 07/11/18 Page 1 of 1 PagelD 420
CIVIL COVER SHEET 3113. cV--355 pc -300PQL

JS 44 (Res. 06/17)

‘The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as
provided by focal rules of court. This form, approved by the Judicial Conference of the L

purpose of“initiating the civil docket sheet. (SHH INSTRUCTIONS ON NENT PAGE OF THIS FORM )

Jnited States in September 1974, is required for the use of the

uired by law, except as
eClerk of Court tor the

 

I. (a) PLAINTIFFS

David Allyn, M.D., James V. Lynott, M.D., and Joseph M. Masessa, M.D.

(b) County of Residence of First Listed Plaintiff

(ENCEPTINULS. PLAINTIEE CASES)

(c) Attomeys (Fire Name, Address, and Telephone Number) .
George F. Indest lll, Esquire, Achat A. Aggarwal, Esquire

The Health Law Firm

1101 Douglas Avenue, Altamonte Springs, Florida 32714

DEFENDANTS

County of Residence

NOTE:
HE TRACT

 

Attorneys (ff Known)

 

of First Listed Defendant

American Board of Medical Specialties, Inc., an Illinois corporation,
and American Board of Dermatology, Inc., a Delaware corporation
_Cook County, Illinois _

CIN ELS. PLAINTIED CASES ONLY)

OF LAND INVOLVED.

“ AND CONDEMNATION CASES, USE THE LOCATION OF

 

I. BASIS OF JURISDICTION (Hace an “X" mone Bax Only)

1) US. Goverment

Plainuff

12.) US. Government
Defendant

3° Federal Question

(US. Government Nata Party)

aga

Diversity

(ladiwate Citzeastup of Parties in trem Hy

 

IV. NATURE OF SUIT ¢rtace an “x7 m1 One Box ¢ Jub)

(hor Diversity Cases Only)

1H. CITIZENSHIP OF PRINCIPAL PARTIES ¢ttace an “x” in One Bax for Plamtiff

and One Bax for Defendant)

PTF DEF PTF DEF
Citizen of This State 11° (4 I Incorporated or Principal Place m4 G4
of Business In This State
Citizen of Another State 32 OD 2 Incomerated and Principal Place gas as
of Business In Another State
Citizen or Subject of a 73) & 3° Forcign Nation o6 Deo

Foreign Country

 

 

L CONTRACT. TORTS.
C1 110 Insurance PERSONAL INJURY PERSONAL INJURY
(7 120 Marine F310 Aiplane ( 365 Personal Injury -

{1 130 Miller Act

0 140 Negotiable fnstrument

1 150 Recovery of Overpayment
& Enforcement of Judgment

0 151 Medicare Act

C1 152 Recovery of Defaulted
Student Loans
(Excludes Veterans}

O 153 Recovery of Overpayment
of Veteran's Benefits

© 160 Stockholders’ Suits

0 190 Other Contract

C1 195 Contract Product Liability

{1 $96 Franchise

[ REAL PROPERTY

© 315 Airplane Product
Liabitity

O 320 Assault, Libel &
Slonder

(3 330 Federal Employers”
Liability

@ 340 Marine

O 345 Marine Product
Liability

0 350 Motor Vehicle

© 355 Motor Vehicle
Product Liahility

@ 360 Other Personal
Injury

© 362 Personal Injury -
Medical Malpractice

CIVIL RIGHTS

Product Liability
& 367 Health Case’
Phannaceutical
Personal Injury
Product Liability
OF 368 Asbestos Personal
Injury Product
Liability

PERSONAL. PROPERTY

O 370 Other Fraud

371 Truth in Lending

CB 380 Other Personal
Property Damage

1) 385 Property Damage
Product Liability

PRISONER PETITIONS

 

1 210 Land Condemnation

O 220 Foreclosure

©) 230 Rent Lease & Ejectment
O 240 Tons to Land

0) 245 Vort Product Liability
0 290 All Other Real Property

 

OF 440 Other Civil Rights

O 441 Voting

© 442 Employment

O 443 Housings
Accommodations

D 445 Amer, w/Disabilities -
Employment

0 446 Amer. w/Disabilities -
Other

1 448 Education

 

Uabeas Corpus:
@ 463 Alien Detainee
1 $10 Motions to Vacate
Sentence
$30 General
& 335 Death Penalty
Other:
540 Mandamus & Other
$50 Civil Rights
{9 555 Prison Condition
( 560 Civil Detainee -
Conditions of
Confinement

 

G 625 Drug Related Seizure
of Property 21 USC 881
(3 690 Other

“FORFEITURE/PENALTY _|

Click here for: Nature o
BANKRUPTCY
(1) 422 Appeal 28 USC 158
(1 423 Withdrawal
28 USC 157

 

77 820 Copyrights

7 830 Patent

7 835 Patent - Abbreviated
New Drug Application

1 840 Trademark

. Suit Code Descriptions.

CO 375 False Claims Act

1 376 Qui Tam (31 USC
372%a))

2) 400 State Reapportionment

CK 410 Antitrust

© 430 Banks and Banking

(7 450 Commerce

0 460 Deportation

0 470 Racketeer Influenced and
Cormupt Organizations

 

 

 

LABOR

03 710 Fair Labor Standards
Act

59 720 Labor/Management
Relations

7 730 Railway Labor Act

(1 751 Family and Medical
Leave Act

790 Other Labor Litigation

(9 791 Employee Retirement
Income Security Act

IMMIGRATION
© 462 Naturalization Application
465 Other Immigration
Actions

 

 

7 861 HA C1395)

0 862 Black Lung (923)

9 863 DIWC/DIWW (405(2))
9 864 SSID Tithe XVI

C1 865 RSI (405(g2))

480 Consumer Credit

1 390 Cable/Sat TV

& 850 Securities Commodities!
Exchange

1 890 Other Statutory Actions

O 891 Agricultural Acts

© 893 Environmental Matters

0 895 Freedom of Information

 

j__ FEDERAL TAX SUITS
17 870 Taxes (U.S. Plaintiff
or Defendant)
7 871 IRS—Third Pany
26 USC 7609

Act

1 896 Arbitration

1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

(9 950 Constitutionality of
State Statutes

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

| Original
mR Proceeding

VI. CAUSE OF ACTION

VIL REQUESTED IN

COMPLAINT:

2 Removed from
State Court

a 3

 

Remanded from
Appellate Court

 

UNDER RULE 23, F.R.Cv.P.

VIE. RELATED CASE(S)

IF ANY

(See tistructions):

4 Reinstated or

Reopened
(specify)

DEMANDS

53 ‘Transferred from
Another District

Transfer

Cite the U.S. Civil Statute under which you are filing (Pe aot cite jurisdictional statutes antes diversify):
Sherman Act, Sections 1 and 2
Brief description of cause:

Verified Complaint for Damages and Injunctive Relief, and for Temporary Restraining Order

Gl CHECK IF THIS IS A CLASS ACTION

CHECK YES only i
JURY DEMAND:

1 6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

 

f demanded in complaint:
RR Yes No

 

 

 

JUDGE - ee DOCKET NUMBER oe
DATE SIGNATURE OF All RNEY OF RECORD
i, 2ZWIB ——
FOR OFFICE PSE ONLY ee
RECEIPT 4 AMOUNT APPLYING IFP JUDGE MAG. JUDGE
